Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 1 of 15

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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SS&C TECHNOLOGIES, INC.,
Civil Case No:
Plaintiff, 20-cv-00595 - AKH
Vv. *
KRISTINA SPILLANE,
COMPLAINT
Defendant,
and JURY TRIAL
FIDELITY NATIONAL INFORMATION DEMANDED
SERVICES, INC.,
Relief Defendant. *
xX

 

Plaintiff SS&C Technologies, Inc. (“SS&C”), by its attorneys, Shearman &
Sterling LLP, for its Complaint against Defendant Kristina Spillane (“Spillane”) and Relief
Defendant Fidelity National Information Services, Inc. (“FIS”) hereby alleges as follows:

NATURE OF THE ACTION

1, SS&C brings this lawsuit to redress the theft of some of its most valuable,
confidential and competitive trade secrets. In late December 2019, Defendant Kristina Spillane
left her position as a global client relationship manager at SS&C’s subsidiary, DST Systems, Inc.
(“DST”). Spillane left DST to join SS&C’s competitor, Fidelity National Information Services,
Inc. (“FIS”), where she began work on or about January 13, 2020. On December 16, 2019 —
after being recruited by FIS, and just days before walking out the door at SS&C — Spillane
emailed to her husband (who has no affiliation with SS&C) and requested he print four global
relationship matrix reports (“Matrix Reports”) documenting SS&C’s global relationships with

key customers representing hundreds of millions of annual revenue to SS&C.
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 2 of 15

2. The stolen Matrix Reports are among SS&C’s most prized and closely
guarded trade secrets. Each of the four reports comprises pages of detailed information laying
out the services and products SS&C provides to the customer across SS&C’s various business
lines, opportunities for new business, perceived risks in the customer relationships, pricing
strategy, marketing plans, and client coverage plans. The Matrix Reports collect, distill, and
analyze SS&C’s overall strategy for maintaining its existing business with these customers and
for growing each relationship in the future. The Matrix Reports include specific detailed
information on pricing, pricing strategy, the customer’s needs and how to best address them, key
customer contacts and many other topics central to the global customer relationship. This
information is highly confidential, is designated as such in the Matrix Reports, and is only shared
on a “need to know basis” within SS&C.

3. Defendant Spillane had no valid business reason to transmit the Matrix
Reports outside of SS&C (to her husband) in December 2019. On December 16, 2019 when she
transmitted the reports, Spillane had been in the recruitment process with FIS for some time and
she left her employment at SS&C just eight days later. Moreover, contrary to SS&C policy,
Spillane did not return the hard copy Matrix Reports that she caused to be printed out when she
left SS&C. Instead, to SS&C’s knowledge, she has retained them (in hard copy and electronic
form) as an employee of FIS.

4, FIS is a direct and substantial competitor of SS&C in numerous business
lines. With Spillane’s deep knowledge and experience with SS&C’s business — and armed with
the four Matrix Reports packed with data and strategy about SS&C’s key customer relationships
—FIS is now in a position to use SS&C’s proprietary information and strategies to engage in

devastating, unfair — and illegal — competition against SS&C. Indeed, FIS has made clear its
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 3 of 15

desire to compete aggressively with SS&C and to poach SS&C’s employees in order to do so: In
the fall of 2019, FIS hired a DST sales executive in its transfer agency business (Stephen
Grande) and DST’s former compliance head for its Asset Management Solutions Group’s
transfer agency business, a client-facing role advising customers on compliance-related issues in
the transfer agency space (Craig Hollis). Shortly after being hired at FIS, Hollis told an SS&C
executive that FIS was aggressively building its product lines that compete with SS&C, that FIS
could take business away from SS&C, and that SS&C should expect FIS to hire away more of its
employees very soon. Just two months later (in December 2019), FIS poached Spillane, and just
last week, FIS hired away another DST employee (Kimberly O’Connor) who held a leadership
role in the same SS&C business line as Grande, Hollis, and Spillane.

5. Accordingly, SS&C brings this action under the Defend Trade Secrets Act
(“DTSA”), 18 U.S.C. § 1836 for misappropriating SS&C’s confidential trade secrets. SS&C
seeks damages, an injunction prohibiting Defendant Spillane and her new employer, Relief
Defendant FIS, from retaining, using, disseminating or disclosing the proprietary and
confidential information Spillane stole, and other relief as described herein.

PARTIES, JURISDICTION, AND VENUE

6. Plaintiff SS&C is a corporation organized and existing under the laws of
the State of Delaware with its principal place of business at 80 Lamberton Road, Windsor,
Connecticut. SS&C is a global business with offices around the world, including an office in
New York, New York. SS&C is in the worldwide business of providing specialized software for
the global financial services industry. SS&C has several subsidiaries and affiliates, including
DST, a subsidiary that SS&C acquired on April 16, 2018. DST is a leading provider of
specialized technology, strategic advisory, and business operations outsourcing to the financial

and healthcare industries.
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 4 of 15

7. Defendant Spillane is a former employee of DST who resides in
Massachusetts. Most recently, Spillane was a Global Relationship Executive in DST’s Asset
Management Solutions Group, with responsibility for managing several of DST’s and SS&C’s
most important global customer relationships. Spillane left DST on December 24, 2019 to join
FIS in a similar role, as a Strategic Accounts Manager. Spillane started working at FIS on or
about January 13, 2020.

8. Relief Defendant FIS, Spillane’s current employer, is a corporation
organized and existing under the laws of the State of Georgia with its principal place of business
at 601 Riverside Avenue, Jacksonville, Florida. FIS is a provider of technology, solutions and
services for merchants, banks and capital markets businesses across the globe, and therefore
competes with both SS&C and DST across a variety of products and services domestically and
internationally.

9. This Court has subject matter jurisdiction of this action under 28 U.S.C.
§ 1331, 28 U.S.C. § 1332, and 18 U.S.C. § 1836(c).

10. This Court has personal jurisdiction over Defendant Spillane and Relief
Defendant FIS pursuant to N.Y. C.P.L.R. § 302(a). Among other things, (i) SS&C manages
several of its key global relationships, including those that are the subject of the misappropriated
Matrix Reports, largely out of its New York office; (ii) several of SS&C’s global relationship
customers, including some that are the subject of the Matrix Reports, are based in New York;
(iii) Spillane, while working at DST, personally visited New York-based global relationship
customers in New York, including making visits to JPMorgan Chase & Co. (“JPMorgan”) and

another client in the fourth quarter of 2019; (iv) FIS also has an office in New York and manages
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 5 of 15

its global relationships, at least in part, from that office; and (v) Spillane is, on information and
belief, reporting directly or indirectly to FIS’ Chief Revenue Officer, who is based in New York.

11. Venue is proper in this District because the events giving rise to the claims
occurred here, U.S.C. § 1391(b)(2).

FACTUAL BACKGROUND
A. The Businesses of SS&C, DST and FIS

12. SS&C is a pioneer and market leader in delivering software and software-
enabled services to asset managers, insurance companies and other financial institutions to
automate their complex business processes. Founded in 1986 by Bill Stone, SS&C has
thousands of customers including banks and commercial lenders, mutual funds, hedge funds,
private equity firms, real estate investment trusts, corporate treasury groups, insurance
companies, pension funds, municipal finance groups and real estate property managers. SS&C
built its business through decades of hard work, ingenuity, technological innovation and
investments of hundreds of millions of dollars to develop its valuable trade secrets and know-
how.

13. | SS&C acquired DST in April 2018 in a transaction valued at about $5.4
billion. DST is an industry leader in providing customers with transfer agency and asset
management services, including back office record-keeping.

14. _ FIS is also an important player in the financial technology sector. FIS
provides an array of financial technology services to financial institutions, including services
used by asset managers, mutual funds, traders, custodians, treasurers, third-party administrators
and clearing agents. FIS competes for many of the same customers as SS&C, especially in the

areas of transfer agency, investment management and accounting, and business process
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 6 of 15

outsourcing. It is common for SS&C and FIS to compete for the same customers at the same
time as part of RFPs and similar processes. For example, FIS offers to its customers and markets
to its prospects a retirement account servicing platform called OMNI, which competes directly
with SS&C’s retirement account servicing platform, TRAC. Similarly, FIS’ SunGard investment
accounting services and software compete with several SS&C business lines including Advent
and GlobeOp.

15. SS&C has “global relationships” with certain of its most important clients,
which means SS&C provides these clients with a host of products and services, in the United
States and internationally, across the financial technology landscape and via separate SS&C
business lines. SS&C’s global relationships are among its most valuable assets as they represent
a significant share of SS&C’s revenues and are among SS&C’s most important opportunities for
developing future business.

16. SS&C’s global relationships include four that are the subject of the Matrix
Reports stolen by Defendant Spillane: JPMorgan, Janus Henderson Investors (“Janus”),
Columbia Threadneedle Investments (“CTT”) and Invesco Ltd. (“Invesco”). These relationships
represent hundreds of millions of dollars of revenue to SS&C. FIS has historically pursued
opportunities to sell products and services that compete directly with the products and services
that SS&C provides to these four customers. Indeed, FIS has provided — or sought to provide —
its services to at least JPMorgan and CTI during the past twelve months.

B. Spillane’s Position at DST and Her Recruitment by FIS

17. — Spillane joined DST in 2001 and held a variety of client relationship

positions. Most recently, Spillane was a Global Relationship Executive in DST’s Asset

Management Solutions Group. In that position, Spillane’s responsibilities included managing,
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 7 of 15

developing and growing some of DST and SS&C’s most important global relationship clients.
Among others, Spillane had responsibility for global SS&C clients JPMorgan, Janus, CTI and
Invesco.

18. Over the last year, FIS has actively targeted and recruited SS&C
employees to assist its business and to further its goal of stealing SS&C market share. In or
about November 2018, Stephen Grande, a successful DST sales executive with responsibility for
DST?’s sales in the transfer agency business, resigned from DST. Grande joined FIS at least in or
about the fall of 2019 in a sales-related function.

19. In or about June 2019, Craig Hollis, the then head of compliance for
DST’s Asset Management Solutions Group’s transfer agency business, left DST. As the head of
compliance, Hollis had significant, client-facing roles by, among other things, advising DST’s
clients regarding the myriad of regulatory obligations related to the transfer agency business. An
industry leader in the regulatory transfer agency business, Hollis joined FIS in or about October
2019. Notably, after joining FIS, Hollis told an SS&C executive at a trade conference that FIS
was investing aggressively in its transfer agency business and that FIS believed it could take
business from SS&C. Hollis further told the SS&C executive, alluding to FIS’ active
recruitment campaign, that SS&C should “expect more” of its personnel to resign and move to
FIS.

20. ‘In or about September 2019, Spillane applied for a more senior position at
DST. After being denied the promotion, Spillane determined to leave DST. Spillane began
looking for opportunities outside SS&C at least as early as fall of 2019. After recruiting Spillane

for some time, FIS transmitted an official, written offer of employment to Spillane on December
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 8 of 15

17, 2019. Spillane announced her resignation on December 23, 2019, and DST terminated her
system and building access on December 24, 2019, which effectively served as her last day.

21. Spillane began working at FIS on or about January 13, 2020 as a Strategic
Accounts Manager, a position nearly identical to her position at DST, i.e. she will have
responsibility for managing FIS’ most important strategic accounts. Moreover, Spillane’s
position at FIS will be at least as senior as her position at DST; indeed, Spillane informed SS&C
upon leaving DST that she expected her new position would involve a “leadership role” at FIS.

22. Continuing the trend of FIS poaching SS&C employees, even just last
week, Kimberly O’Connor, a Vice President for the transfer agency business at ALPS Fund
Services (a DST subsidiary) gave notice that she would be leaving ALPS for FIS. ALPS also
provides services in the transfer agency business that FIS is looking to compete for aggressively
against SS&C.

C. Spillane’s Theft of SS&C Trade Secrets

23. By December 2019, although Spillane remained a DST employee,
Spillane had been involved in talks to move to FIS for some time. As stated above, Spillane
received a written offer of employment from FIS on December 17, 2019 and her last day at DST
was December 24, 2019.

24. On December 16, 2019 at 1:48 p.m., Spillane sent an email to her husband
(a lawyer with no affiliation to DST or SS&C) attaching the four Matrix Reports for clients
JPMorgan, Janus, CTI, and Invesco. In the email, Spillane instructed her husband to print the
documents in hard copy.

25. The Matrix Reports contain highly valuable, confidential business

information of DST, SS&C and other affiliates, including details regarding their global
Case 1:20-cv-00595-AKH Document 1 Filed 01/23/20 Page 9 of 15

relationships with JPMorgan, Janus, CTI, and Invesco. All four of these clients are global asset
managers. DST, SS&C and other affiliates provide various financial technology services to
these four clients via a number of service and product offerings throughout the United States and
globally, and are actively seeking to pursue additional opportunities and solutions for these
clients. All told, these highly valued, global relationships generate hundreds of millions of
dollars of revenue for SS&C.

26. Each Matrix Report is designated “confidential” and includes highly
confidential information concerning: the particular services that SS&C currently offers to these
four clients and pricing-related information (including SS&C’s revenues associated with
particular services, and certain term and renewal information for specific contractual
arrangements); significant business opportunities and solutions that SS&C is pursuing with each
of these clients, along with pricing-related information for those opportunities; “action” plans
relating to executing particular opportunities with these clients; “risks” associated with these
client relationships, including certain perceived concerns or vulnerabilities; and key contacts at
each respective client pertaining to the relationship.

27. The information contained in the Matrix Reports is highly valuable to
SS&C, which relies on the reports to manage and grow its most important customer
relationships, and is shared within SS&C on a “need to know” basis. The Matrix Reports would
also be of immense value to SS&C’s competitors, such as FIS, for several reasons, which include
the following:

28. First, if a competitor learns pricing-related information for the products or
services that SS&C offers, then it may use that information to gain an unfair competitive

advantage against SS&C. A competitor could, for example, use this information to undercut
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 10 of 15

SS&C’s pricing for a particular product or service offering in an attempt to take over that client
relationship, or to attempt to impact the pricing that SS&C charges its customers.

29. Second, the “opportunities” listed in the Matrix Reports are the product of
considerable time and effort that SS&C employees have devoted to identifying business
opportunities and prospects, identifying the related needs of their clients and customers,
presenting these opportunities to them, and negotiating potential transactions. Many of the
opportunities referenced in the Matrix Reports include ones that are currently being pursued.
Indeed, all of these Matrix Reports are dated September 2019. These opportunities are also
highly confidential, and include information relating to price and certain key terms (such as
renewal time-frames). If a competitor learned this information, it would permit the competitor to
take a “short cut” around the time and effort that went into pursuing each particular opportunity
to target the same opportunities that SS&C is pursuing, and to use SS&C’s analysis and approach
towards these opportunities (including about price) to its advantage. Renewal information is
particularly sensitive because SS&C often competes with FIS for long-term contracts, the
renewal dates for which are confidential and non-public.

30. =‘ Third, the “risks” listed in the Matrix Reports provide details about the
overall client relationships, including areas for improvement based in part on client feedback. If
a competitor could access this information, it could capitalize on SS&C’s internal assessment of
its performance, including areas in which SS&C is seeking to improve. This would allow a
competitor to use this information to its competitive advantage, including by seeking to instill
“fear, uncertainty, and doubt” in the client.

31. Fourth, the Matrix Reports include information regarding key contacts at

the respective SS&C clients, including for the main decision-makers associated with the services

10
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 11 of 15

that SS&C provides to each client. This client contact information is the product of significant
efforts that SS&C Sales and Product teams have spent cultivating the client relationships. Ifa
competitor obtained this information, then the competitor could short cut the time it took to
cultivate these relationships and contacts, and have a direct line to the client personnel with
whom SS&C communicates about its products.

32. | There was no valid business reason for Spillane to have sent the Matrix
Reports via email to a third-party (her husband) in contravention of SS&C’s information
securities policies, or to have arranged for hard copies of these documents to be printed outside
of the office on December 16, 2019 (approximately a week before Spillane’s last day at SS&C).
Spillane could have accessed these documents in electronic form from her SS&C laptop while
working in the office or remotely. Therefore, there was no reason for her to instruct a third party
to print them in hard copy. Notably, Spillane did not return the hard copy documents to DST or
to SS&C after leaving her employment, as required by DST policies. To SS&C’s knowledge,
Spillane has retained the four Matrix Reports to this day even though she is now working at FIS.

33. With Spillane’s deep knowledge and experience of SS&C’s business — and
armed with the four Matrix Reports packed with data and strategy about SS&C’s key customer
relationships — FIS is now in a position to use SS&C’s proprietary information and strategies to
engage in devastating, unfair — and illegal — competition against SS&C.

34. On January 13, 2020, SS&C notified Spillane and FIS in writing that
SS&C had learned about Spillane’s theft of the Matrix Reports. SS&C requested that FIS cease
and desist any use or distribution of the Matrix Reports and, further, that FIS undertake an
investigation to determine, among other things, whether and the extent to which the Matrix

Reports had been further disseminated within FIS. SS&C requested that FIS provide a

11
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 12 of 15

substantive response by January 16, 2020. To date, FIS has not advised SS&C whether Spillane
and/or FIS continue to possess the Matrix Reports, whether they were further disseminated, or
how FIS may have used the reports in competing with SS&C.

FIRST CLAIM FOR RELIEF
(Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836)

35. SS&C repeats and realleges each allegations set forth in paragraphs 1
through 34 as if fully set forth herein.

36. SS&C is the rightful legal owner of the proprietary and confidential
information that was contained in the Matrix Reports.

37. | The SS&C products and services described in the Matrix Reports are used
in and intended for use in, interstate and foreign commerce.

38. | The Matrix Reports that Spillane improperly emailed to her husband on
December 16, 2019 contained, without limitation, SS&C’s financial, business, scientific,
technical, economic, or engineering information, including patterns, plans, compilations,
program devices, formulas, designs, prototypes, methods, techniques, processes, procedures,
programs, or codes, including highly sensitive customer and marketing information.

39. SS&C took reasonable measures to keep the above information secret and
confidential, including by designating the documents “Confidential” and instructing employees
that SS&C’s intellectual property belonged to SS&C and could not be used for non-SS&C
business purposes.

40. The contents of the Matrix Reports that Spillane improperly emailed to her
husband included information highly valuable to SS&C, which was not known to, and not

readily ascertainable through proper means by, competitors such as FIS.

12
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 13 of 15

41. | A competitor such as FIS would derive substantial value from the
information contained in the Matrix Reports. Among other things, Spillane and FIS could use
the Matrix Reports to understand the commercial strategy of a key competitor, to identify new
customer opportunities, to learn confidential information about those customer opportunities
(including price-related information), and to undermine SS&C’s efforts to maintain and grow its
business with these customers.

42. Spillane was not authorized to email the Matrix Reports outside of SS&C
on December 16, 2019, nor was she authorized to make hard copies that she would keep with her
after leaving employment at SS&C.

43. As aresult of her continued possession of the Matrix Reports while
working for FIS, Spillane has also disclosed or used SS&C’s proprietary and confidential
information she acquired using improper means as described herein.

44, — Spillane’s wrongful conduct in misappropriating SS&C’s proprietary and
confidential information through improper means has damaged SS&C.

SECOND CLAIM FOR RELIEF
(Preliminary and Permanent Injunction, 18 U.S.C. § 1836(b)(3)(A))

45. | SS&C repeats and realleges each allegation set forth in paragraphs 1
through 44 as if fully set forth herein.

46. Dissemination of the proprietary and confidential information described
herein would result in immediate and irreparable harm to SS&C.

47. SS&C is entitled to a preliminary and permanent injunction enjoining and
restraining Spillane and Relief Defendant FIS from misappropriating, converting, possessing,

retaining, sharing, using or in any way disseminating SS&C’s confidential information.

13
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 14 of 15

DEMAND FOR JURY TRIAL

48. Under Federal Rule of Civil Procedure 38, Plaintiff SS&C respectfully

requests a trial by jury on all claims so triable.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff SS&C respectfully requests the following relief:

(a) Judgment against defendant Spillane adjudging her to be liable to SS&C
for misappropriation of trade secrets under DTSA, 18 U.S.C. § 1836;

(b) An award of actual damages, damages for unjust enrichment, damages
measured as a reasonable royalty, and punitive damages against Spillane as authorized by 18
U.S.C. § 1836(b)(3)(B) & (C);

(c) The issuance of a preliminary and permanent injunction enjoining and
restraining Defendant Spillane and Relief Defendant FIS from misappropriating, converting,
possessing, retaining, sharing, using or in any way disseminating SS&C’s confidential

information as authorized by 18 U.S.C. § 1836(b)(3)(A);

(d) Judgment awarding Plaintiff SS&C its costs and disbursements in this
action, including reasonable attorneys’ fees (see 18 U.S.C. § 1836(b)(3)(D)); and,

(e) Such other and further relief as this Court deems just and proper.

14
Case 1:20-cv-00595-AKH Document1 Filed 01/23/20 Page 15 of 15

Dated: New York, New York

January 22, 2020
SHEARMAN & STERLING LLP

By: ny Le (uZ—-

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15
